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 Case2:13-cr-00040-APG-VCF
       2:13-cr-00040-JCM-VCF Document
                             Document 33
                                      28   Filed 02/08/13
                                           Filed 02/22/13 Page
                                                           Page1 1ofof2 2
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